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16
                            UNITED STATES DISTRICT COURT
17
                          CENTRAL DISTRICT OF CALIFORNIA
18

19
     FRANK SINGH,                                 Case No. 5:19cv2292
20
                  Plaintiff(s),                   STIPULATION TO EXTEND
21                                                TIME TO RESPOND TO
            v.                                    COMPLAINT BY NOT MORE
22                                                THAN 30 DAYS (L.R. 8.3)
     NEW BALANCE ATHLETICS, INC.,
23   as an entity and doing business as
     “New Balance Factory Store Ontario”,
24   PAC OPERATING LIMITED                        Complaint Filed:      11/29/2019
     PARTNERSHIP, and DOES 1-50,                  Complaint Served:     12/17/2019
25   Inclusive,                                   Current Response Date: 01/07/2020
                                                  New Response Date: 02/06/2020
26                Defendant(s).
                                                  Trial Date:           None Set.
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                                              1
     STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT (L.R. 8-3)      Case No. 5:19cv2292
Case 5:19-cv-02292-JGB-SP Document 9 Filed 01/07/20 Page 2 of 2 Page ID #:33



 1            Pursuant to L.R. 8-3, Plaintiff FRANK SINGH (“Plaintiff”) and Defendant
 2   NEW BALANCE ATHLETICS, Inc. (“Defendant”) jointly stipulate as follows:
 3            WHEREAS, Plaintiff filed his Complaint on November 29, 2019;
 4            WHEREAS, Plaintiff served his Complaint on Defendant on December 17,
 5   2019;
 6            WHEREAS, Defendant’s original deadline to answer or respond to the
 7   Complaint is January 7, 2020;
 8            WHEREAS, Defendant has requested and Plaintiff has consented to a 30-
 9   day extension until February 6, 2020, for Defendant to file its answer or response
10   to the Complaint;
11            WHEREAS, the extension to answer or respond to the Complaint will not
12   alter the date of any event or any deadline already fixed by Court order.
13            NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the
14   parties, through their respective counsel, that Defendant shall answer or otherwise
15   respond to Plaintiff’s Complaint by February 6, 2020.
16

17   Dated: January 7, 2020                  JACKSON LEWIS P.C.
18

19
                                             By:   /s/ Angel R. Sevilla
20                                                 Angel R. Sevilla
                                                   Janelle J. Sahouria
21                                                 Attorneys for Defendant(s)
                                                   NEW BALANCE ATHLETICS, INC.
22

23   Dated: January 7, 2020                  MALAKAUSKAS LAW, APC
24

25
                                             By:   /s/ Daniel Malakauskas
26                                                 Daniel Malakauskas
                                                   Attorney for Plaintiff
27                                                 FRANK SINGH.
28   4841-6255-3776, v. 1


                                              2
     STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT (L.R. 8-3)       Case No. 5:19cv2292
